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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

U.S. NAVY SEALs 1-3; on behalf of
themselves and all others similarly situated;
U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1, on behalf of
himself and all others similarly situated; U.S.
NAVY SEALS 4-26; U.S. NAVY SPECIAL
WARFARE COMBATANT CRAFT
CREWMEN 1-5; and U.S. NAVY DIVERS
1-3,
                       Plaintiffs,
                                                      Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III, in his official
capacity as United States Secretary of
Defense; UNITED STATES
DEPARTMENT OF DEFENSE; CARLOS
DEL TORO, in his official capacity as
United States Secretary of the Navy,

                      Defendants.


 PLAINTIFFS’ SUPPLEMENTAL APPENDIX IN OPPOSITION TO DEFENDANTS’
                     ASSERTION OF MOOTNESS

Tab         Description                                     Bates Number(s)
1           NAVADMIN 038/23 COVID-19 Operational Risk       0001-0007
            Management Matrix for Deployments
2           Second Declaration of Levi Beaird, Lieutenant   0008-0011
            Commander (Sel), USN
3           Declaration of Annmarie Acevedo, Lieutenant,    0012-0015
            USN
4           Declaration of U.S. Navy SEAL 23                0016-0019
5           Declaration U.S. Navy SEAL 13                   0020-0024
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Respectfully submitted this 8th day of March 2023.


                                                  /s/ Heather Gebelin Hacker
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Rule 49(c)(8) under the supervision of an
attorney admitted to the D.C. Bar.
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                              Tab 1




                                 Pls.' Opp. to Assertion of Mootness Suppl. App. 0001
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 Navy COVID-19 Operational Risk
Management Matrix for Deployments
                                 Peter Seguin
                                 CDR MC USN
                                 BUMED N44
                                (703)681-9474
                        peter.g.seguin.mil@health.mil
                                                                         Pls.' Opp. to Assertion of Mootness Suppl. App. 0002


   M E D I C A L     P O W E R        F O R      N A V A L        S U P E R I O R I T Y                  
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                                      Assumptions
• This tool when, used in consultation with unit Medical Providers, can
  inform Commanders of the COVID-19 risk to mission
• This matrix is intended to inform decision making, not to direct
  measures upon a Command or force a Commander’s decision
• There may be additional risk factors not contained in the matrix that
  can impact operational risk.
• The risk factors should be periodically reviewed as COVID-19 variants
  and other circumstances change




                                                                            Pls.' Opp. to Assertion of Mootness Suppl. App. 0003


      M E D I C A L     P O W E R        F O R      N A V A L        S U P E R I O R I T Y                                       2
                       Navy COVID-19
                            Case 4:21-cv-01236-O Operational
                                                 Document 236 Filed 03/08/23Risk
                                                                             Page 6 of Management
                                                                                       26 PageID 7757


                                        Matrix for Deployments
              Purpose: This matrix aims to reduce the risk of mission impact due to one or more cases of
              moderate/severe COVID-19 disease in a deployed service member where the organic medical team
              cannot provide adequate medical management
                                                                             GREEN                  YELLOW                            RED
                RISK FACTORS*                         RTM RTF RTI
                                                                           (0 POINTS)               (1 POINT)                     (2 POINTS)
Age of Any Unvaccinated Personnel                                 X                                  18-29 yrs                       30+ yrs
Medical Conditions                                                X              0                       1                              2+
Number of Unvaccinated Personnel                       X    X                  1-10                    11-49                           50+
Percent of Crew Unvaccinated                           X    X                 <10%                    10-29%                          30%+
Mission Essential Personnel Unvaccinated               X                        No                                                     Yes
Masking for Unvaccinated Personnel                     X    X             Yes/N95/KN95             Intermittent                        No
Austere Location                                       X          X             No          Yes, MEDEVAC within 1 day      Yes, MEDEVAC within 2 days
Congregate Setting                                     X    X     X             No                 Intermittent                        Yes
Unit Medical Officer                                   X    X     X                Yes             MO Nearby                             No
Foreign Nation Provides Near US Standard of Care                  X             Yes              Within 24 hours                         No
Liberty with Elevated COVID-19 Risk                         X     X            Low                  Medium                              High
Severity of Currently Circulating Variant              X    X     X            Low                  Medium                              High
Risk to MEDEVAC Crew                                        X                  Low                  Medium                              High
     *Leaders may emphasize specific risk               Risk to Mission (RTM)
     factor(s) that increase risk to mission based      Risk to Force (RTF)                   LOW RISK TO MISSION <7 POINTS
     on the deployed environment and crew               Risk to Individual (RTI)              MEDIUM RISK TO MISSION 7-11 POINTS
     characteristic                                                                           HIGH RISK TO MISSION 12+ POINTS
                                                                                                         Pls.' Opp. to Assertion of Mootness Suppl. App. 0004


                       M E D I C A L                P O W E R        F O R          N A V A L    S U P E R I O R I T Y                                        3
                                       Case 4:21-cv-01236-O Document 236 Filed 03/08/23   Page 7 of 26 PageID 7758
                Operational Risk Management Matrix for Deployments

                                                                             GREEN                YELLOW                          RED
                           RISK FACTORS*                    RTM RTF RTI
                                                                           (0 POINTS)             (1 POINT)                   (2 POINTS)
         Age of Any Unvaccinated Personnel                           X                             18-29 yrs                     30+ yrs
         Medical Conditions                                          X           0                     1                            2+
         Number of Unvaccinated Personnel                    X   X             1-10                  11-49                         50+
         Percent of Crew Unvaccinated                        X   X            <10%                  10-29%                        30%+
         Mission Essential Personnel Unvaccinated            X                  No                                                 Yes
         Masking for Unvaccinated Personnel                  X   X        Yes/N95/KN95           Intermittent                      No
         Austere Location                                    X       X          No        Yes, MEDEVAC within 1 day    Yes, MEDEVAC within 2 days
         Congregate Setting                                  X   X   X          No               Intermittent                      Yes
         Unit Medical Officer                                X   X   X        Yes                MO Nearby                         No
         Foreign Nation Provides Near US Standard of Care            X        Yes              Within 24 hours                     No
         Liberty with Elevated COVID-19 Risk                     X   X       Low                   Medium                         High
         Severity of Currently Circulating Variant           X   X   X       Low                   Medium                         High
         Risk to MEDEVAC Crew                                    X           Low                   Medium                         High




Steps
1. Calculate risk to mission points by evaluating the deployment risk factors based on crew characteristics
   and the deployed environment and location(s)
2. Based on the risk to mission determination (low/medium/high) consider and implement measures to
   decrease the risk of moderate/severe COVID-19 case(s) causing mission impact
                                                                                                         Pls.' Opp. to Assertion of Mootness Suppl. App. 0005


                       M E D I C A L                P O W E R       F O R     N A V A L                                                                       4
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                    Measures to Decrease Risk

1) Masking/additional HPM during a shipboard outbreak
2) Strict N95 use (masking) for first +/-10 days underway if embarking
   from an area with high community transmission
3) Testing all crew/pax prior to deployment
4) ROM for all crew/pax prior to a deployment
5) Units deploy with COVID-19 vaccine doses (if possible)
6) Units deploy with anti-viral medications (if possible)




                                                                           Pls.' Opp. to Assertion of Mootness Suppl. App. 0006


     M E D I C A L     P O W E R        F O R      N A V A L        S U P E R I O R I T Y                                       5
                                  Case 4:21-cv-01236-O Document 236 Filed 03/08/23    Page 9 of 26 PageID 7760
                                  Example Deployment Scenario:
                           USS Nimitz (CVN 68, crew 5,000) deploys with 80
                               unvaccinated junior Sailors to RIMPAC
                                                                       GREEN                  YELLOW                           RED
               RISK FACTORS*                       RTM RTF RTI
                                                                     (0 POINTS)               (1 POINT)                    (2 POINTS)
Age of Any Unvaccinated Personnel                            X                                 18-29 yrs                      30+ yrs
Medical Conditions                                           X             0                       1                             2+
Number of Unvaccinated Personnel                    X    X               1-10                    11-49                          50+
Percent of Crew Unvaccinated                        X    X              <10%                    10-29%                         30%+
Mission Essential Personnel Unvaccinated            X                     No                                                    Yes
Masking for Unvaccinated Personnel                  X    X          Yes/N95/KN95            Intermittent                        No
Austere Location                                    X        X            No         Yes, MEDEVAC within 1 day      Yes, MEDEVAC within 2 days
Congregate Setting                                  X    X   X            No                Intermittent                        Yes
Unit Medical Officer                                X    X   X           Yes                MO Nearby                           No
Foreign Nation Provides Near US Standard of Care             X           Yes               Within 24 hours                      No
Liberty with Elevated COVID-19 Risk                      X   X           Low                  Medium                           High
Severity of Currently Circulating Variant           X    X   X           Low                  Medium                           High
Risk to MEDEVAC Crew                                     X              Low                   Medium                           High

                                                                                        Action: 1) Implement Measures to
LOW RISK TO MISSION <7 POINTS                           Score: 10 Points =
MEDIUM RISK TO MISSION 7-11 POINTS                                                             Decrease Risk (OR)
HIGH RISK TO MISSION 12+ POINTS
                                                         Medium Risk to
                                                                                     2) Accept Risk (based on Risk Tolerance
                                                             Mission
                                                                                       and as advised       by Medical
                                                                                              Pls.' Opp. to Assertion         Providers)
                                                                                                                      of Mootness Suppl. App. 0007


                     M E D I C A L           P O W E R          F O R    N A V A L                                                                 6
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                              Tab 2




                                 Pls.' Opp. to Assertion of Mootness Suppl. App. 0008
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                        Plaintiffs,
                                                               Case No. 4:21-cv-01236-O
         v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                         Defendants.


                        SECOND DECLARATION OF LEVI BEAIRD,
                         LIEUTENANT COMMANDER (SEL), USN

       Pursuant to 28 U.S.C. §1746, I, Levi Beaird, declare under penalty of perjury as follows:

       1.      I am over the age of eighteen and competent to make this second declaration in

support of Plaintiffs’ assertion that this case is not moot.

       2.      As I fully explained in my first declaration, in 2017, I accepted a retention bonus

of $105,000, that was being paid in annual installments since 2017. Those payments stopped in

November 2021 when I was unable to satisfy the Navy’s requirements for retaining the bonus due

to the Navy’s negative treatment of my unvaccinated status.




                                              Pls.' Opp. to Assertion of Mootness Suppl. App. 0009
                                                   1
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       3.      Although the DoD’s and the Navy’s COVID-19 vaccine requirements have been

rescinded, no one in my chain of command has discussed with me whether my bonus payments

will ever resume. The total amount I have received so far is still $75,000.

       4.      Additionally, despite the Navy’s February 24, 2023, Department of the Navy

Actions to Implement Coronavirus Disease 2019 Vaccine Rescission, stating that “[t]he service

records for those Sailors and Marines so identified shall be reviewed and any adverse information

related to their COVID-19 vaccine refusal shall be removed from the service record,” I continue

to have adverse information in my personnel file that will likely have adverse career consequences

for me in the future.

       5.      Specifically, there is a Request for Complete Copy of Official Military Personnel

File dated April 20, 2022, that was issued by the Navy Region Mid-Atlantic Commanding Officer

to the Commander of the Navy Personnel Command (PERS 313). According to the request, the

responsive record was to “be used in [my] Board of Inquiry proceedings.” The only reason I was

facing a Board of Inquiry was because the Navy was trying to discharge me for remaining

unvaccinated against COVID-19 in accordance with my sincerely held religious beliefs.

       6.      If this information remains in my personnel records or the Navy’s service records,

it will likely result in adverse career consequences for me because anyone who has access to those

records will know that I faced involuntary discharge from the Navy.

       7.      Because there is no context provided in the April 20, 2022, record request document

explaining that the Board of Inquiry proceedings were the direct result of the DoD’s and the Navy’s

August 2021 COVID-19 vaccine mandates, anyone with access to my service records will never

know the reason why I faced involuntary separation.




                                            Pls.' Opp. to Assertion of Mootness Suppl. App. 0010
                                                 2
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       8.     The April 20, 2022, record request is adverse to me but has not been removed from

my personnel records despite the Navy’s February 24, 2023, guidance.

       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on March 8, 2023.

                                              /s/ Levi Beaird
                                              LEVI BEAIRD




                                             Pls.' Opp. to Assertion of Mootness Suppl. App. 0011
                                                  3
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                              Tab 3




                                 Pls.' Opp. to Assertion of Mootness Suppl. App. 0012
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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                        Plaintiffs,
                                                              Case No. 4:21-cv-01236-O
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                          Defendants.


                DECLARATION OF ANNMARIE ACEVEDO, LIEUTENANT, USN

        Pursuant to 28 U.S.C. §1746, I, Annmarie Acevedo, declare under penalty of perjury as

follows:

        1.        I am over the age of eighteen and competent to make this declaration in support of

Plaintiffs’ assertion that this case is not moot.

        2.        I am presently assigned to the United States Navy Aegis Ashore Missile Defense

System Poland, Detachment. I am the Officer in Charge of the Detachment. I am responsible for

manning, training, and equipping over 100 Sailors, both officer and enlisted, for deployment to

Poland and in support of Ballistic Missile Defense operations in the European Command Area of

Responsibility. This is a shore-duty assignment where I am presently non-operational.

                                               Pls.' Opp. to Assertion of Mootness Suppl. App. 0013
                                                    1
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       3.      I have been assigned to overseeing the Detachment since December 10, 2021.

       4.      I filed a religious accommodation request in September of 2021. At that time, I had

finished Department Head school and was in the process of completing weapons officer training

pipeline schooling. In November 2021, the Navy issued guidance stating that unvaccinated Sailors

could not change duty stations (i.e., PCS), so the Navy was trying to keep me at the school I was

attending at that time. But I needed to get home for childcare reasons because I did not have

childcare past November, as planned. My Detailer found me a position at Aegis Ashore, where I

am presently assigned, because I was not permitted to report to the ship to assume weapons officer

duties, which was the next step in my career.

       5.      Since that time, I have not heard from my Detailer. But on March 1, 2023, he called

to advise me that the Navy was trying to get me back to sea as soon as possible for a 12-month

tour. My Detailer wants me to report to a ship in March 2023 and, according to him, the sooner I

can get there, the better. This is a complete change in procedure from how the Navy was handling

unvaccinated Sailors and their detailing for assignments since November 2021. It is also a change

in normal procedure period.

       6.      Previously, the Navy would not allow me to go back to sea because of my

vaccination status, so this is a very quick turn that my family is not prepared for. My spouse is a

civilian surgical assistant on two different call schedules. I have no family to assist me with

childcare, so when I go to training or sea duty, I need a nanny. Because I do not have or need a

nanny while on shore duty, our family needs the standard amount of time typically offered by the

Navy to make a plan. This amount of time is usually approximately six months.

       7.      In the past, when the Navy scheduled me for training or sea duty, I have had enough

notice to prepare for childcare. But I am presently unable to report to a sea duty billet within the


                                            Pls.' Opp. to Assertion of Mootness Suppl. App. 0014
                                                 2
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next two to four weeks, especially considering it will take me away from my family for a

consecutive 12 months (with a few days home here and there) because I will not be able to find

suitable and trustworthy childcare in time.

       8.      Through this RAR process, I have suffered harm both personally and to my career.

In an attempt to improve my overall situation, I submitted my package to join the Navy Reserve

on March 2, 2023, since I need to be in a place to be competitive among my peers and advance my

career. For the Navy to now suddenly say that I need to adjust the course of my entire life in a

matter of weeks is impossible considering my family needs.

       9.      When I explained all of this to my Detailer, his answer was that I made a

commitment to the Navy by signing a contract and there is no getting out of going to sea. But up

until that day (March 1), no one was interested in having me at sea or even in the Navy because of

my sincere religious beliefs against COVID-19 vaccination.

       10.     I appreciate that I can now be operational again and continue serving as an active-

duty Sailor, but it appears that the Navy is intentionally rushing this process and not providing me,

and likely others in my position, the appropriate amount of time necessary to get my family’s

childcare needs resolved before a 12-month sea-duty assignment. I am also not being given other

sea-duty assignment options. These are all things the Navy would typically provide in the normal

course of Navy assignments.

       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on March 8, 2023.

                                               /s/ Annmarie Acevedo
                                               ANNMARIE ACEVEDO




                                              Pls.' Opp. to Assertion of Mootness Suppl. App. 0015
                                                  3
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                              Tab 4




                                 Pls.' Opp. to Assertion of Mootness Suppl. App. 0016
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                        Plaintiffs,
                                                             Case No. 4:21-cv-01236-O
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                       Defendants.



                            DECLARATION OF U.S. NAVY SEAL 23

        Pursuant to 28 U.S.C. § 1746 I, U.S. Navy SEAL 23, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and competent to make this declaration.

   2. I am submitting this declaration in support of Plaintiffs’ assertion that this case is not

moot.

   3. I am one of the original Plaintiffs in this action. I am presently an E-6.

   4. I submitted several declarations in this matter that outline my religious objections to the




                                            Pls.' Opp. to Assertion of Mootness Suppl. App. 0017
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COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3,

2022, I have been protected from separation from the Navy because of the preliminary

injunction. Yet, consequences of the mandate still exist and personally impact my career in the

Navy.

   5. In April of 2022, I had an opportunity to submit a package to be considered for a leading

petty officer position, which was a “milestone” leadership position. Within the Navy Special

Warfare community, a milestone leadership position is one that must be completed in order to

advance to the next grade and rank. Attaining that leadership position would have secured my

eligibility to promote to E-7.

   6. Because I was unable to even be considered for that position, I cannot advance to an E-7.

   7. Even if the Navy gave me the opportunity to be competitive for a milestone leadership

position today, I would be anywhere between one and three years behind others who are younger

than me and do not have as much time in the Navy as me yet have been and are being selected

for milestone positions ahead of me.

   8. I have also not yet returned to an operational status. About two weeks ago, I inquired

with my Chief Corpsman in medical about the status of my dive physical. My dive physical has

not been approved due to my unvaccinated status. Approval of my dive physical is necessary for

me to be operational and retain my special duty pays. I followed up with my Chief Corpsman

again last week and provided him with NAVADMIN 038/23 to let him know that my dive

physical should now be approved. To date, I have not received a response from him.

        I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true

and correct. Executed on March 6, 2023.




                                              Pls.' Opp. to Assertion of Mootness Suppl. App. 0018
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                                         /s/ U.S. Navy SEAL 23
                                         U.S. Navy SEAL 23




                                 Pls.' Opp. to Assertion of Mootness Suppl. App. 0019
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                              Tab 5




                                 Pls.' Opp. to Assertion of Mootness Suppl. App. 0020
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                        Plaintiffs,
                                                             Case No. 4:21-cv-01236-O
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                         Defendants.



                       SECOND DECLARATION OF U.S. NAVY SEAL 13

       Pursuant to 28 U.S.C. § 1746 I, U.S. Navy SEAL 13, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and competent to make this declaration.

   2. This is the second declaration I am submitting in support of Plaintiffs’ assertion that this

case is not moot.

   3. As I stated in my first declaration submitted in support of this issue, I am one of the

original Plaintiffs in this action. I am presently an E-6.

   4. Before the August 24, 2021, mandate, I was recruited to fill a deploying leading petty


                                              Pls.' Opp. to Assertion of Mootness Suppl. App. 0021
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officer position for a deploying unit. This leadership position was a “milestone” leadership

position. Within the Navy Special Warfare community, a milestone leadership position is one

that must be completed in order to advance to the next grade and rank. Attaining that leadership

position would have ensured my promotion to E-7.

    5. Because I did not complete my time in that position, I cannot advance to an E-7. Even if

the Navy gave me that position back today, it would not matter because in the Navy, you must be

in a paygrade for three years in order to receive retirement pay for that rank. I have served in the

U.S. Navy for 18 years and will reach my 20 years of service to retire before I could be an E-7

for three years. I will lose close to $100,000 in overall retirement pay because I will not be able

to retire as an E-7.

    6. Back in 2021, in preparation for filling the milestone leadership position, I was sent to a

specialized school in advance of my scheduled deployment. I was attending this school before

the August 24, 2021 COVID-19 vaccine mandate went into effect.

    7. While attending school, in or about September 2021, I submitted my Religious

Accommodation Request (RAR). A few days after submitting my RAR, I was removed from the

school by my command because I submitted a RAR.

    8. A few weeks after that, when I was back at my home station, my commanding officer

advised that all RARs were being denied. In December 2021, I discovered that I was removed

from my leadership position when I was, without warning or notice from my chain of command,

dropped from an official leadership chat thread for my platoon and realized that someone else

suddenly assumed my leadership duties.

    9. When I no longer filled a leadership position for my platoon, I was assigned




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administrative busy work that I have performed daily and in person among individuals who are

still deployable and in rotations to deploy. For example, I have been responsible for managing

rollcall for 12-20 people on any given day and handling any random, administrative, non-

deployable tasks that require attention. I performed these duties until I went on paternity leave in

January 2023 and fully expect to be performing these duties when I return to work in April 2023.

No one in my command has communicated with me about the Navy’s updated policies or to tell

me that I will be performing different duties upon my return to work. The duties I have been

performing are well below my paygrade and below my level of education and training.

   10. Despite my circumstances, I have excelled at performing these duties. As a result, four

months ago, my current leadership asked if I could be returned to a deployable platoon, but the

request was denied. Again, on February 1, a similar request was made by the Officer in Charge

(OIC) of another deployable platoon for me to return to the deployable platoon, but it was denied

by my Master Chief. Despite the rescission of the COVID-19 vaccine mandate, my Master

Chief said that I would not deploy, but considering the change in policies, I could now be

transferred to shore-duty. I have not received any information to suggest that I will return to a

deployable platoon.

   11. About a year and a half ago, my dive physical was denied approval due to my vaccination

status. To date, I have not been advised that my dive physical has been processed and approved.

This means I am still unable to sky dive and engage in combat diving, which are both tasks I am

required to perform in the deployed environment. Approval of my dive physical is necessary for

me to retain my special duty pays.

   12. Considering my chain of command was quick to remove me from my position in a




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specialized school a few days after I filed my RAR, and then a few weeks later my command

removed me from my milestone leadership position, my expectation is that the same swift

communication should occur now that the COVID-19 vaccine mandates have been rescinded and

NAVADMIN 038/23 has been implemented.

   13. Despite being on paternity leave, I am in regular contact with my supervisors and check

my official email once or twice per week. But no one in my command has advised me of any

change in status to my dive physical or my return to an operational status based on the new

guidance implemented by the Navy and the Department of Defense.

       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true

and correct. Executed on March 7, 2023.



                                                       /s/ U.S. Navy SEAL 13
                                                       U.S. Navy SEAL 13




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